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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF KANSAS


BRIAN MICHAEL WATERMAN,                       )
                                              )
                          Plaintiff,          )
                                              )
      vs.                                     )     Case No. 18-3092-JWB-KGG
                                              )
DAVID GROVES, et al.,                         )
                                              )
                          Defendants.         )
                                              )

                     MEMORANDUM & ORDER
            DENYING MOTION FOR EVIDENTIARY HEARING

      Plaintiff, who is a prisoner in the Sedgwick County Jail, brings this civil

rights action pro se against certain Defendants associated with the Cherokee

County Jail, where he was previously incarcerated. This Order addresses

Plaintiff’s Motion for Evidentiary Hearing (Doc. 148). For the reasons set forth

below, the motion is DENIED.

      The background of this case has been summarized in the undersigned

Magistrate Judge’s prior Orders on Plaintiff’s numerous motions in this case as

well as by the District Court. (See e.g., Docs. 99, 113, 123, 137, 157, 158.) Those

factual summaries are incorporated by reference.


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      In the present motion, Plaintiff asks for an evidentiary hearing “on evidence

stolen, by the defendants 6 DVDs of video and audio footage on 10-18-2018 thru

12-14-2018 in order to stop a civil prosecution in several counts against them.”

(Doc. 148, at 1.) The Court notes that it recently denied Plaintiff’s request to

amend is Complaint to include a count relating to these same DVDs. (Doc. 158.)

In that underlying motion, Plaintiff sought leave to add “a count for stealing

evidence 6 DVDs of previous subpoenaed video footage jail and audio in 2018”

and to add a “count for opening [his] outgoing civil legal mail and stealing two

addresses” for named Defendants Kristen Wagner and Danny Davis in order “to

stop Count’s [sic] III and V.” (Doc. 140, at 1.)

      The Court noted the motion to amend was noncompliant with D. Kan. Rule

15.1(a)(2) because no proposed amended pleading was attached. (Doc. 144, at 1.)

Rather than deny Plaintiff’s motion on this technical basis, however, the Court

denied the motion on substantive merits as futile. The Court incorporates by

reference its analysis from the prior Order as to the futility of adding a cause of

action relating to these six DVDs. (Doc. 158, at 3-6.)

      In short, the Court agreed with Defendants’ argument that Plaintiff has

“‘fail[ed] to adequately explain why his proposed amendment is necessary or even

explain the basic facts surrounding his proposed amended claims.’” (Id., at 4

(quoting Doc. 144, at 2).) The Court also agreed with Defendants that “‘[t]he


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DVD claim has nothing to do with these Defendants’” and “‘Plaintiff’s motion

does not identify who he alleges actually stole the DVDs.’” (Id.)

      Defendants contended that “[t]he allegedly stolen DVDs were part of the

discovery file in Plaintiff’s criminal case, and Plaintiff has previously asserted in

this litigation that the alleged theft happened when his ‘case file was illegally given

to Cherokee County Prosecutors.’” (Doc. 144, at 4-5 (citing Doc. 134).)

Defendants continued that Plaintiff “is attempting to add unrelated claims related

to new parties” that do not belong in the present lawsuit, “in order to avoid the

requirements of the PLRA.” (Id., at 5.) Rather, according to Defendants, “the

proper avenue for relief is a separate lawsuit against the Cherokee County

prosecutors.” (Id.) This Court agreed. (Doc. 158, at 5-6.)

      Defendants further established that Plaintiff has previously filed two such

lawsuits. (Doc. 158, at 6 (quoting Doc. 140, at 5).) The Court agreed with

Defendants that “‘Plaintiff is trying in this case to litigate claims that he is having

difficulty litigating in other cases.’” (Id.) The Court finds that the same is true as

to Plaintiff’s request for an evidentiary hearing regarding the same DVDs.

      Because the Court has previously found that legal claims relating to these

DVDs are unrelated to the present litigation, frivolous, and futile, the Court sees no

basis to allow an evidentiary hearing regarding these DVDs to proceed in this case.

Plaintiff’s motion (Doc. 148) is, therefore, DENIED.


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 IT IS SO ORDERED.

 Dated at Wichita, Kansas, on this 16th day of October, 2020.

                                 S/ KENNETH G. GALE
                                 KENNETH G. GALE
                                 United States Magistrate Judge




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